           Case 2:05-cr-00034-KJM Document 36 Filed 05/05/05 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    ANNE PINGS
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2785

5

6

7

8                      IN THE UNITED STATES DISTRICT COURT

9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA           ) CR. NO. S-05-0034-LKK
12                                      )
                      Plaintiff,        )
               v.                       ) ORDER SETTING STATUS DATE
13
                                        ) AND EXCLUDING TIME
     LINDA CHANEY,                      )
14   JAY McCASTLE,                      )
     DAVID TALCOTT USSERY, and          )
15   ROBERT ROBINSON,                   )
16                                      )
                      Defendants.
                                        )
17

18        Based upon request of the parties and representations made in

19   open court on May 3, 2005, IT IS HEREBY ORDERED:

20        This matter is set over for status hearing on June 7, 2005;

21        The Court finds that the matter is complex and that the

22   defendant's counsel, in particular defendant Ussery's counsel who

23   only recently entered the case, reasonably require additional time

24   to conduct investigation for effective preparation on behalf of

25   their clients.

26        The Court further finds that the ends of justice served by

27   granting the defendant's counsel time to diligently prepare outweigh
           Case 2:05-cr-00034-KJM Document 36 Filed 05/05/05 Page 2 of 2


1    the best interest of the defendant and the public in a speedy trial.

2         Accordingly, the Court orders that time shall be excluded until

3    June 7, 2005, under the Speedy Trial Act,       18 U.S.C. §

4    3161(h)(8)(ii) (T-2 / complexity) and 18 U.S.C. § 3161(h)(8)(iv) (T-

5    4 / preparation of counsel).

6

7    Dated: May   5, 2005                   /s/Lawrence K. Karlton
                                            HON. LAWRENCE K. KARLTON
8                                           UNITED STATES DISTRICT JUDGE
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
